Case: 1:17-md-02804-DAP Doc #: 2362-13 Filed: 08/14/19 1 of 3. PageID #: 383784




                EXHIBIT 11
                    Case: 1:17-md-02804-DAP Doc #: 2362-13 Filed: 08/14/19 2 of 3. PageID #: 383785

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                                                            U.S. Departmt:nt of Justice

                                                            Drug Enforcement




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                                                                                          COf!?oRATE SECURrrt
                                                               OCT 2 g 1995

           l<!!'.    Ch.!:'iS Zimme~a..."1
           Manager , Corporate Security
           Sersen Brunswig Corporation
           4800 Metropolitan Drive
           Ora..!:.ge, California · 92668

           Dear Mr. Zimmerman:

                Reference is made to your rece~t letter in which you requested
           tha~ Bergen 8::-unswig be pe:::mitted to replace its current telephonic
           reporting cf suspicious orders wicr- a daily report transmitted by
           facsimile.

                       We have reviewed your proposal and feel that it could be a viable
           alternative to the current system . It is our understanding that a
           computer program has been created that can compare a customer's
           cont:?:":::>lled substance orders to an average of :he customer's orders fer
           t~e prior four months .       Customers' orders that exceed their four mcnth
           o.ve:::age order history by an as yet unspecified percentage would be
           shown on a summary report that would be sent to the appropriate Drug
           S::;forcement Ad.ministration {D=::Al field office on a daily basis . As
           ?:::oposed, the summary report would include the customer's name,
           address and DEA number; a description of the item ordered; the N°DC
           numbe!'; date ordered; active ingredient volume ordered a.."'ld shi.pped;
           and the customer's "allowance" or average order .

                     We note tha~, unlike the program that generates Bergen Brunswig's
           rnonth:y suspicious order report, the ne~ program will compare the
           C'..tSt:.orner' s order to his or he:- previous orders rather than to orders
           placed by other customers.         It i.s therefore re~~ested that each DEA
           offi~e continue to be prov~ded with the monthly reports in addition to
           :he daily facsimi!e reports . It would also be ~elpful to our
           inves:iga:ors if the quantity of drugs ordered were ex-pressed in
           cos age uni ts rather than by the weight of the active ingredient.

                  We agree that it would be prudent to test this new progra~ before
            i~stituting it nationwide and conc~r wit~ your suggestion to use the
            DE:A Los A..'l5eles Division office for ::he beta test. We ,,..ould




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              Case: 1:17-md-02804-DAP Doc #: 2362-13 Filed: 08/14/19 3 of 3. PageID #: 383786




            Mr. Chris Zirmne:::-rnan                                           Page Two


            appreciace it if ycu would post~one st3rting the cesting uncil afte~
            February 1, 1997, as Ms. Bets_y Willis, who has been selected for the
            ::ii versi::m Program Manager posi t:ion in the Los Angeles Field Di vis ion,
            will not be reporting for duty until the end of January. It is
            suggesced t.hac you concact Ms. Willis after January 20 , 1997 co
            discuss this matter further.       Ms. Willis may be reached at
             (213) 894-~ after that date.
                        ~fhl
                  We look foI'W'ard to workir..g with you on this new project which we,
            too, hope will lead to a more efficient suspicious order reporting
            system.   If you have any questions please let me ~~ow.




                                                      G. Thomas Gitch l,Chief
                                                      Liaison and Po ' cy Section
                                                      Ofzice of Diversion Control




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